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                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                      ANDERSON DIVISION


    George Wheeler as Personal Representative      )          C/A No. 8:19-cv-02132-DCC
    of the Estate of Cole Wheeler,                 )
                                                   )
                   Plaintiff,                      )
                                                   )
                  vs.                              )            SEVENTH AMENDED
                                                   )            SCHEDULING ORDER
    Ford Motor Company,                            )
                                                   )
                    Defendant.                     )
                                                   )

       Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of this District,
the Court hereby establishes the following schedule for this case. This Scheduling Order is entered
to administer the trial of this case in a manner consistent with the Federal Rules of Civil
Procedure’s goal of securing “the just, speedy, and inexpensive determination of every action and
proceeding.” Fed. R. Civ. P. 1.

      4. Pretrial Disclosures: No later than June 1, 2022 the parties shall file and exchange Fed.
         R. Civ. P. 26(a)(3) pretrial disclosures. Within 14 days thereafter, a party shall file and
         exchange Fed. R. Civ. P. 26(a)(3) objections, any objections to use of a deposition
         designated by another party, and any deposition counter-designations under Fed. R. Civ.
         P. 32(a)(6).

      5. Motions in Limine: Motions in limine must be filed no later than June 1, 2022. Written
         responses are due 7 days after the motion is filed.

      6. Pretrial Briefs and Exhibits: Parties shall furnish the Court pretrial briefs 7 days prior to
         the date set for jury selection. 1 Local Civil Rule 26.05 (D.S.C.). Attorneys shall meet at
         least 7 days prior to the date set for submission of pretrial briefs for the purpose of
         exchanging and marking all exhibits. See Local Civil Rule 26.07 (D.S.C.).

      7. Jury Selection and Trial: This case is subject to being called for jury selection on or after
         July 25, 2022, and/or trial on or after August 15, 2022.



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  The pretrial brief information found in Local Civil Rule 26.05(A)–(M) (D.S.C.) shall be
submitted only to the Judge’s chambers. However, pretrial brief information contained in Local
Civil Rule 26.05(N)–(O) (D.S.C.) shall be served on opposing parties.


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     The parties’ attention is specifically directed to Local Civil Rule 5.03 (D.S.C.) regarding the
filing of confidential material. The parties’ attention is also directed to the Court’s website
regarding instructions or other orders that may be applicable to your case.



                                                s/Donald C. Coggins, Jr.
                                                The Honorable Donald C. Coggins, Jr.
                                                United States District Court Judge
  Dated: February 1, 2022
  Spartanburg, South Carolina

  Pursuant to Local Civil Rule 83.I.06 (D.S.C.), this Order is being sent to local counsel only.




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